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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                              January 28, 2021
                             SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL NO. 4:19-CR-00228-2
                                                §
DEONTE DANQUISE BAILEY-ROACH                    §
                                                §

                                            ORDER

        The above-named defendant filed an unopposed motion for continuance of the time to

respond to the Presentence Report and of the sentencing hearing (Dkt. No. 92). The Court finds

that the ends of justice are served by granting this continuance, so therefore the motion is

GRANTED. The docket control order is amended as follows:

       PSI Completion due by August 13, 2021.

       Objections to the Presentence Report shall be filed by: August 30, 2021.

       Responses to any objections shall be filed by: September 13, 2021.

       Final Presentence Report shall be filed by: September 27, 2021.

       Sentencing is reset for: October 4, 2021 at 10:00 a.m.

        It is so ORDERED.

        SIGNED on this 28th day of January, 2021.


                                                ___________________________________
                                                Kenneth M. Hoyt
                                                United States District Judge




1/1
